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                          UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF ILLINOIS

 BRIAN K. CRIPPEN, SR.,

 Plaintiff,                                                        CIVIL ACTION

 v.
                                                          CASE NO. 17-cv-137-NJR-DGW
 FREEDOM MORTGAGE
 CORPORATION, a New Jersey
 Corporation,                                                JURY TRIAL DEMANDED

 Defendant.


                                  NOTICE OF SETTLEMENT

         PLEASE TAKE NOTICE that Plaintiff, Brian K. Crippen, Sr., hereby notifies the Court

 that Plaintiff and Defendant, Freedom Mortgage Corporation, a New Jersey Corporation, settled

 all claims between them in this matter and they are in the process of completing the final closing

 documents and filing the dismissal. The parties request that the Court retain jurisdiction for any

 matters related to completing and/or enforcing the settlement.

 Respectfully submitted this 22nd day of May, 2017.

                                                      Respectfully Submitted,

                                                      /s/ Kimberly D. Wirth
                                                      Kimberly D. Wirth, ARDC #: 6299352
                                                      Attorney for Plaintiff
                                                      Law Offices of William A. Mueller, LLC
                                                      5312 West Main Street
                                                      Belleville, IL 62226
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                                   CERTIFICATE OF SERVICE

           I hereby certify that I today caused a copy of the foregoing document to be electronically

 filed with the Clerk of Court using the CM/ECF system which will be sent to all attorneys of

 record.

                                                        /s/ Kimberly D. Wirth
                                                        Kimberly D. Wirth, ARDC #: 6299352
                                                        Attorney for Plaintiff
                                                        Law Offices of William A. Mueller, LLC
                                                        5312 West Main Street
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